      To	  whom	  it	  may	  concern,	  
      	  
      I	  can	  state	  that	  Kari	  Danielle	  Carter	  was	  a	  student	  in	  my	  class	  during	  2015-­‐
      16.	  She	  was	  enrolled	  in	  Physical	  Chemistry	  I	  and	  II,	  which	  I	  teach	  at	  East	  
      Tennessee	  State	  University.	  She	  is	  a	  good	  student	  and	  always	  prevails	  in	  her	  
      studies.	  She	  was	  among	  the	  top	  high	  scorers	  on	  tests	  for	  Physical	  Chemistry	  
      II.	  She	  also	  will	  be	  pursuing	  an	  internship	  with	  Eastman	  in	  the	  near	  future.	  
      The	  internship	  program	  will	  not	  start	  until	  the	  summer	  since	  they	  no	  longer	  
      provide	  access	  to	  them	  in	  the	  fall.	  	  
      	  
      	  
      	  
      Thank	  you,	  
      Scott	  Kirkby	  
      	  
      Assistant	  Dean,	  School	  of	  Graduate	  Studies	  
      Professor,	  Department	  of	  Chemistry	  
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